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EXHIBIT F
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Column Record 1 Calculation
Store_Id 2307026

Pharmacy_Name BINSONS PHARMACY INC
Claim_Service_Begin_Date 12/7/2000

Invoice_Date 12/7/2000
CGN_Sequence_Number 9827

National_Drug_Code 00074613802

Generic_Price_index 1

Quantity_Integer 500 C
Quantity_Decimal 0

Days_Supply 10

New_Refill_Code 0

Compound_indicator 1

Pharmacy_DAW

Charges 48.4
Pharmacy_Gross_Amount_Due 0

Copayment_Amount 1

Other_Insurance 0

Approved_Amount 10.21 A
Pharmacy_Final_Type_Price

Professional_Charge 3.77 B
incentive_Fee

Beneficiary_Level_Of_Care 22

STECK_Quantiy 500
STECK_Claim_Service_Begin_Date 20001207

STECK_Invoice_Date 20001207

STECK_Input_File LITFFSA
STECK_Input_Record_Number 11327959

Per Unit Ingredient Cost 0.01288 (A-B)/C

